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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF GEORGIAy 5 y                                                        T COURT
                                     AUGUSTA DIVISION             t- r ‘
                                                                  K   .1 'j                                            I/



UNITED STATES OF AMERICA                                                                           m\ JAi-i 12 p 2^ 5u
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                                                          'k
        V.                                                                 CR 118-071[_p;;
                                                          >lr
                                                                                                         S 0. U i b i. L- ;■ Q\.
ALPHONSO LORENZO BURLEY                                    *




                                                   ORDER



        Defendant             Alphonso          Lorenzo         Burley      has        filed         a       motion           for

reduction           in     sentence         pursuant            to    the        compassionate                        release

provision           of   18     U.S.C.      §    3582(c) (1) (A) .               The       Government                 opposes

the    motion.             Upon     due     consideration,             the       Court            denies          Burley's

request for relief.

        The        compassionate            release       provision          provides               a        narrow          path

for a District Court                  to grant         release to a defendant                                if it          finds

that    \\                                                                       //
             extraordinary            and       compelling        reasons              warrant               such       relief

and that release is \\ consistent with applicable policy statements

                                                                                                        //
issued by the              [United States]             Sentencing Commission.                                    18     U.S.C.

§   3582 (c) (1} (A) .              Section        lBl.13        of    the       Sentencing                   Guidelines

provides           the     applicable            policy         statement,                 explaining                 that         a

sentence           reduction may be ordered where                           a court determines,                              upon

consideration              of   the    factors         set      forth       in        18        U.S.C.       §    3553(a) ,

that         w                                                                             //
                 extraordinary            and     compelling               reasons                exist           and         the

defendant           does      not   present        a   danger         to    the        safety           of       any        other
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person or the community.              U.S.S.G. § IBI.13.                      The application note

to    this       policy    statement         lists              three    specific         examples        of

extraordinary and compelling reasons to consider reduction of a

defendant's         sentence      under           §       3582(c) (1) (A) :         (1)      a     medical


condition;        (2)    advanced    age;         and      (3) family circumstances.                     Id.
                                                                                     \\ As determined
n.l(A)-(C).        A fourth catch-all category provides:

by the Director of the Bureau of Prisons, there                                        exists      in    the

defendant's        case    an    extraordinary                  and    compelling        reason      other

                                                           //     the    aforementioned              three
than,       or    in      combination         with.

categories.         Id. n.l(D) (emphasis added) .

        In this case, Burley, who is only 39 years old, claims to

have    a    qualifying         medical       condition               based     upon      his      medical

conditions:             high    blood        pressure/hypertension,                      diabetes        and

w                                        n
    polycystic kidney disease.                (Def.'s Mot., Doc. 75, at 1.)                             That

is, Burley contends that his medical conditions, in conjunction

with the potential adverse effects to him should he contract COVID-

19,    qualify      as     a    serious       medical             condition         equating        to    an

                                              n
    extraordinary and compelling                      reason for compassionate release.

The    Centers     for     Disease      Control            ("CDC")       reports       the       following

conditions \\ are at increased risk of severe illness from COVID-

19":     cancer;        chronic      kidney            disease;         COPD;       Down         Syndrome;

compromised        state       (weakened          immune          system)       from      solid      organ

transplant;        obesity      (body     mass            index       [BMI]    of   30    or      higher);

serious heart conditions, such as heart failure, coronary artery


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disease,          or   cardiomyopathies;              pregnancy;       sickle     cell        disease;

smoking; and type 2 diabetes mellitus.                                See Centers for Disease

Control       &    Prevention,           People       with    Certain    Medical         Conditions,

available              at        https://www.cdc.gov/coronavirus/2019-ncov/need-

extra-precautions/people-with-medical-conditions.html

(last visited on January 11, 2021).                           In this case, the Government

concedes that Burley's diabetes is a medical condition that, in

conjunction with the potential adverse effects to him should he

contract COVID-19, qualify as a serious medical condition equating

          w                                                   n
to   an       extraordinary            and    compelling          reason   for         compassionate

release.          (See Gov't Resp. in Opp'n, Doc. 78, at 13.)                           With respect

                                                                                  //    the    medical
to   Burley's          claim      of     polycystic          kidney    disease.

records note            disorder of kidney and ureter, unspecified"; whether

                                             \\                                 // is unknown to
this condition equates to                         chronic kidney disease

the Court.         Further, Burley's hypertension is listed as a condition

that \\ might" place a person at increased risk of severe illness

from   COVID-19.                See    Centers      for   Disease      Control     &    Prevention,

People with Certain Medical Conditions, supra.

       For purposes of his motion. the Court will assume that Burley's

health conditions,               in    the   aggregate,       qualify him as eligible for

compassionate release.                  Nevertheless, the Court retains discretion

over whether to grant relief and must weigh the sentencing factors

of   18   U.S.C.            §   3553(a)      prior     to     release.      See        18    U.S.C.   §

3582(c) (1)(A).                 Upon   careful       consideration       thereof,           the   Court


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particularly notes that the nature of his offense, the history and

characteristics       of this    Defendant, and the           need    to protect the

public    weigh      against   reducing         his   sentence   to    time   served.

Moreover, Burley was sentenced to serve 120 months on September 4,

2019, and has not served even a quarter of his sentence - a sentence

that was greatly aided by a plea agreement in which two firearm

related charges       were dismissed.            With   good time credit,       Burley

still has six years remaining on his sentence.                   Early release of

this    Defendant     would    fail    to   reflect     the   seriousness      of   his

offense, promote respect for the law, provide just punishment, and

afford adequate deterrence.             In short, reducing his sentence at

this time would not be consistent with the statutory purposes of

sentencing.

        Upon   the   foregoing.       Defendant       Alphonso   Lorenzo      Burley's

motion for compassionate release (doc. 75) is DENIED.

       ORDER ENTERED at Augusta, Georgia, this                           of January,

2021.




                                                     mmL HA]2Ly CHIEF JUDGE
                                                 UNITED STATES DISTRICT COURT
                                                       RN DISTRICT OF GEORGIA




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